
In re Michael Owen and Gregory Cormier, applying for writs of certiorari, prohibition, and mandamus. Fourteenth Judicial District Court. No. 14,758-82. Parish of Calcasieu, Third Circuit Court of Appeal, 438 So.2d 1269.
Granted and remanded to the Court of Appeal. The application makes a strong showing that the Court of Appeal was in error when it denied writs. When there is an application from a pre-trial ruling which might result in a conviction which would need to be reversed in order to correct the error, the better policy is to grant the writ, require briefs and argument, and decide the issue before trial. In such case, a conviction might later be obtained without the use of unconstitutionally-obtained evidence.
